                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION

 UNITED STATES OF AMERICA,                          )
                      Plaintiff,                    )
                                                    )
 vs.                                                )       CASE NO. DNCW112CR000020-
                                                    )       001
                                                    )       (Financial Litigation Unit)
 AVERY TED "BUCK" CASHION, III,                     )
                      Defendant,                    )
 and                                                )
                                                    )
 DEFENSE FINANCE AND ACCOUNTING                     )
 SERVICES,                                          )
                      Garnishee.

                         ORDER OF CONTINUING GARNISHMENT

         THIS MATTER is before the Court on the answer of Defense Finance And Accounting

Services, as Garnishee. On July 11, 2015, the Honorable Martin Reidinger sentenced Defendant

to 36 months of incarceration for his conviction of Conspiracy to Defraud the United States.

Judgment in the criminal case was filed on June 2, 2015 (Docket No. 395). As part of that

Judgment, Defendant was ordered to pay an assessment of $100 and restitution of $14,266,254.47

to the victims of the crime. Id.

         On January 26, 2016, the Court entered a Writ of Continuing Garnishment ("Writ")

(Docket No. 468), to Garnishee, Defense Finance And Accounting Services, ("Garnishee"). The

United States is entitled to a wage garnishment of up to twenty-five percent of net income and has

satisfied the prerequisites set forth in 15 U.S.C. §1673. Defendant was served with the Writ on

January 27, 2016, and Garnishee was served on March 31, 2016. Garnishee filed an Answer on

April 5, 2016 (Docket No. 474), stating that at the time of the service of the Writ, Garnishee had




       Case 1:12-cr-00020-MR-SCR         Document 476        Filed 05/12/16     Page 1 of 2
in their custody, control or possession property or funds owned by Defendant, including non-

exempt, disposable earnings.

       IT IS THEREFORE ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $12,917,906.24 computed through May 11, 2016. Garnishee will pay

the United States fifteen percent of Defendant's net retirement pay which remain after all

deductions required by law have been withheld and one hundred percent of all 1099 payments,

and Garnishee will continue said payments until the debt to the Plaintiff is paid in full or until

Garnishee no longer has custody, possession or control of any property belonging to Defendant or

until further Order of this Court.

       Payments should be made payable to the United States Clerk of Court and mailed to:

                              Clerk of the United States District Court
                                       401 West Trade Street
                                        Charlotte, NC 28202

       In order to ensure that each payment is credited properly, the following should be included

on each check: Court Number DNCW112CR000020-001.

       IT IS FURTHER ORDERED that Garnishee will advise this Court if Defendant’s

employment is terminated at any time by Garnishee or Defendant.




                                                     Signed: May 12, 2016




    Case 1:12-cr-00020-MR-SCR             Document 476        Filed 05/12/16    Page 2 of 2
